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                    1IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                       *        CHAPTER 13
                                             *
EDNA JIMERSON THOMAS,                        *        CASE NO. 14-68816-WLH
aka EDNA JIMERSON                            *
aka EDNA PHILLIPS                            *
aka EDNA HARVEY                              *
                                             *
DEBTOR.                                      *

                           APPLICATION FOR COMPENSATION

         COMES NOW, Nicole R. Stanton of The Cochran Firm, Counsel of record for Debtor in
the instant case, and files this Application for Compensation (“Application”). As grounds for this
Application, Counsel states as follows:

                                                 1.

         The Debtor filed Chapter 13 bankruptcy relief on September 26, 2017 and was
represented by Counsel. The Debtor’s Chapter 13 Plan was confirmed on April 29, 2015.

                                                 2.

         Pursuant to the Attorney Client Agreement signed by Debtor, the Disclosure of
Compensation of Attorney for Debtor, and the Chapter 13 Plan, Counsel is entitled to a base fee
of $3,500.00 for representation in this Chapter 13 case.



                                                 3.

         Pursuant to Paragraph 4(B) of the Chapter 13 Plan confirmed on April 29, 2015. The
Cochran Firm is entitled to additional compensation, over and above the base fee of $3,500.00,
for specific services agreed to by Debtor and rendered on behalf of Debtor, as identified in
paragraph 6 pf the Rule 2016(b) disclosure statement filed in this case.
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                                               4.

       The basis for this Application is that The Cochran Firm filed a Post-Bar Review
Objection to Claim on September 19, 2017 (Doc. 79). The Post-Bar Review Objection to Claim
was granted and the order entered on on November 14, 2017 (Doc. 88). Therefore, the Cochran
Firm is applying for the agreed upon fees totaling $300.00 for these services, including expenses

WHEREFORE, Counsel prays this Honorable Court:

       a) Grant the foregoing application;
       b) Debtor’s Plan Base be increased by $300.00;
       c) The Chapter 13 Trustee disburse $300.00 to Debtor’s Attorney; and
       d) Grant such further and other relief that is just and appropriate.


Dated: November 17, 2017
                                                    /s/ Nicole R. Stanton
                                                    Nicole R. Stanton
                                                    Attorney for Debtor
                                                    GA Bar No. 329046
                                                    The Cochran Firm Bkr, LLP
                                                    Atlanta Bankruptcy
                                                    547 Ponce de Leon Ave.
                                                    Suite 150
                                                    Atlanta, GA 30308
                                                    (404) 800-6415 Phone
                                                    (866) 799-7178 Fax
                                                    nicole.stanton@stantonandworthy.com
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                    IN THE UNITED STATES BANKRUPTCY COURT
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IN RE:                                       *      CHAPTER 13
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EDNA JIMERSON THOMAS,                        *      CASE NO. 14-68816-WLH
aka EDNA JIMERSON                            *
aka EDNA PHILLIPS                            *
aka EDNA HARVEY                              *
                                             *
DEBTOR.                                      *

                                  CERTIFICATE OF SERVICE
       I, Nicole R. Stanton, certify that I am over the age 18 and that on this date, I served a
copy of the foregoing by first class U.S. Mail, with adequate postage prepaid on the following
persons or entities at the addresses stated:
Edna Jimerson Thomas (hand delivery)
Debtor
PO Box 42899
Atlanta, GA 30311

Nancy J. Whaley (via ecf)
Chapter 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303

All Creditors
(See Attached Creditors Matrix)
Dated: November 17, 2017
                                                     /s/ Nicole R. Stanton
                                                     Nicole R. Stanton
                                                     Attorney for Debtor
                                                     GA Bar No. 329046
                                                     The Cochran Firm Bkr, LLP
                                                     Atlanta Bankruptcy
                                                     547 Ponce de Leon Ave.
                                                     Suite 150
                                                     Atlanta, GA 30308
                                                     (404) 800-6415 Phone
                                                     (866) 799-7178 Fax
                                                     nicole.stanton@stantonandworthy.com
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                                  CREDITORS MATRIX


Bayview Loan Servicing LLC
4425 Ponce De Leon Blvd. 5th Floor
Coral Gables, FL 33146-1837

CitiMortgage, Inc.
115 Perimeter Center Place
Suite 1000
Atlanta, GA 30346-1281

CitiMortgage, Inc.
CitiMortgage, Inc.
P.O. Box 6030
Sioux Falls, SD 57117-6030

Quantum3 Group LLC as agent for
MOMA Funding LLC
PO Box 788
Kirkland, WA 98083-0788

AJX Mortgage Trust I
c/o Gregory Funding LLC
P.O. Box 25430
Portland, OR 97298-0430

AT&T Mobility II LLC
c/o AT&T Services, Inc
Karen Cavagnaro, Paralegal
One AT&T Way, Room 3A104
Bedminster, NJ 07921-2693

Ahesi/CitiMortgage Inc.
Attention: Bankruptcy
Po Box 79022 Ms 322
St. Louis, MO 63179


American Express
Po Box 3001
16 General Warren Blvd
Malvern, PA 19355-1245
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American Express Bank, FSB
c/o Becket and Lee LLP
POB 3001
Malvern, PA 19355-0701

American Express Centurion Bank
c/o Becket and Lee LLP
POB 3001
Malvern, PA 19355-0701

BANK OF AMERICA
PO BOX 982238
EL PASO TX 79998-2238
Bank of America
ATTN: Brenda Temple
NC1-001-07-06
01 N. Tryon St.
Charlotte, NC 28246-0100

Bank of America
Attn:Correspondence Unit/CA6-919-0
Po Box 5170
Simi Valley, CA 93062-5170

Bank of America
Michael A Coots Jr Esq
Miller & Martin PLLC
1180 West Peachtree Street NW
Suite 2100
Atlanta GA 30309-3495

Bank of America, N.A.
P O Box 982284
El Paso, TX 79998-2284


Bayview Loan Servicing, LLC
4425 Ponce De Leon Blvd. 5th Floor
Coral Gables, FL 33146-1837

BellSouth Telecommunications, Inc.
% AT&T Services, Inc
Karen Cavagnaro, Paralegal
One AT&T Way, Room 3A104
Bedminster, NJ 07921-2693
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Caf/Carmax Auto Finance
Attn: Bankruptcy
Po Box 440609
Kennesaw, GA 30160-9511

Capital 1 Bank
Attn: General Correspondence
Po Box 30285
Salt Lake City, UT 84130-0285

Capital One Bank USA
P.O. Box 71063
Charlotte, NC 28272-1063

Chase
Po Box 15298
Wilmington, DE 19850-5298

Chase
Po Box 24696
Columbus, OH 43224-0696

Chase- Bp
Po Box 15298
Wilmington, DE 19850-5298

CITIBANK
PO BOX 790034
ST LOUIS MO 63179-0034

Chrysler Capital
P.O. Box 961275
Fort Worth, TX 76161-0275

Citi Mortgage
P.O. Box 6243
Sioux Falls, SD 57117-6243

CitiMortgage, Inc.
P.O. Box 6030
Sioux Falls, SD 57117-6030

CitiMortgage, Inc.
P.O. Box 688971
Des Moines, IA 50368-8971
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CitiMortgage, Inc.
c/o Anthony Maselli
115 Perimeter Center Place
South Terraces, Suite 1000
Atlanta, GA 30346-1249

CITIBANK
PO BOX 790034
ST LOUIS MO 63179-0034

CITIBANK
PO BOX 790034
ST LOUIS MO 63179-0034

Citibank, N.A.
701 East 60th Street North
Sioux Falls, SD 57104-0493

Credit Management Cont
Po Box 1654
Green Bay, WI 54305-1654

DISCOVER FINANCIAL SERVICES LLC
PO BOX 3025
NEW ALBANY OH 43054-3025

Dsnb Macys
9111 Duke Blvd
Mason, OH 45040-8999

Fulton County Tax Commissioner
141 Pryor Street SW
Atlanta, GA 30303-3446

GECRB/Lowes
Attention: Bankruptcy Department
Po Box 103104
Roswell, GA 30076-9104

Georgia Department of Revenue
1800 Century Center Blvd., NE
Atlanta, GA 30345

InVesta Services
1266 West Paces Ferry Rd.
Box 517
Atlanta, GA 30327-2306
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Internal Revenue Service
Insolvency Unit
401 Peachtree St NW, Stop 335D
Atlanta, GA 30308

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

Investa Services of GA Christiana Trust
as Custodian
1266 West Paces Ferry Road
Box #517
Atlanta, GA 30327-2306

Investa Services of GA as Nominee for
Fulton Tax Capital IV, LC
1266 West Paces Ferry Road
Box #517
Atlanta, GA 30327-2306

Irwin Mortgage Corp
10500 Kincaid Dr
Fishers, IN 46037-9749

JPMorgan Chase Bank, N.A.
Chase Records Center-Attn: Corresp Mail
Mail Code LA4-5555
700 Kansas Lane
Monroe, LA 71203-4774

PORTFOLIO RECOVERY ASSOCIATES LLC
PO BOX 41067
NORFOLK VA 23541-1067

Quantum3 Group LLC as agent for
MOMA Funding LLC
PO Box 788
Kirkland, WA 98083-0788

Santander Consumer USA
PO Box 961245
Ft Worth, TX 76161-0244
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Santander Consumer USA Inc.,
an Illinois corp d/b/a Chrysler Capital
P.O. Box 961275
Fort Worth, TX 76161-0275

Sears/cbna
Po Box 6282
Sioux Falls, SD 57117-6282

CITIBANK
PO BOX 790034
ST LOUIS MO 63179-0034

U. S. Attorney
600 Richard B. Russell Bldg.
75 Spring Street, SW
Atlanta GA 30303-3315

Union Acceptance Corp
4315 Pickett Rd
St Josephs, MO 64503-1600

Us Bank/na Nd
Cb Disputes
Saint Louis, MO 63166

VW Credit, Inc.
PO Box 9013
Addison,TX 75001-9013

Vesta Holdings VII, LLC
as Nominee for Fulton Tax Capital II LLC
1266 West Paces Ferry Road
Box #517
Atlanta, GA 30327-2306

Volkswagon Credit Inc
National Bankruptcy Services
9441 Lbj Freeway, Suite 250
Dallas, TX 75243-4640

Wells Fargo Bank
Po Box 14517
Des Moines, IA 50306-3517
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Wells Fargo Bank Nv Na
Po Box 94435
Albuquerque, NM 87199-4435

Wells Fargo Card Ser
Home Campus
3rd Floor
Des Moines, IA 50328-0001

eCAST Settlement Corporation, assignee
of Citibank, N.A.
POB 29262
New York, NY 10087-9262
